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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 THE ASSOCIATED PRESS
 200 Liberty St.
 20th Floor
 New York, NY 10281

    and

 MICHELLE SMITH                                       Civil Action No. _____________________
 c/o The Associated Press
 200 Liberty St.
 20th Floor
 New York, NY 10281

                   Plaintiffs,

           v.

 UNITED STATES DEPARTMENT OF
 STATE
 2201 C St. NW
 Washington, D.C. 20451

                   Defendant.


                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       The Associated Press (“AP”) and Michelle Smith (“Smith”) (collectively, “Plaintiffs”), by

and through their undersigned counsel, hereby allege as follows:

          1.      This is an action under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”

or the “Act”), for declaratory, injunctive, and other appropriate relief brought by The Associated

Press and Smith against the United States Department of State (“Defendant” or “State

Department”).

          2.      By this action, Plaintiffs seek to compel Defendant to comply with its obligations

under FOIA to release requested State Department records. Plaintiffs are statutorily entitled to

disclosure of the requested records, which Defendant is withholding in violation of the Act.
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                                            PARTIES

       3.      Plaintiff The Associated Press is a not-for-profit news cooperative. The Associated

Press’s members and subscribers include the nation’s newspapers, magazines, broadcasters, cable

news services and Internet content providers. AP’s world headquarters is in New York, New York.

       4.      Plaintiff Michelle Smith is a reporter at The Associated Press. She resides in

Providence, Rhode Island.

       5.      Defendant United States Department of State is an agency of the federal

government within the meaning of 5 U.S.C. § 551 and 5 U.S.C. § 552(f) that has possession,

custody, and/or control of the records that Plaintiffs seek. The State Department’s headquarters is

located in Washington, D.C.

                                JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over this action and personal jurisdiction

over Defendant pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

       7.      Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).

                                               FACTS

                                    Plaintiffs’ FOIA Request

       8.      On September 20, 2023, Ms. Smith, in her capacity as a reporter for AP, submitted

a FOIA request to the State Department (the “Request”). A true and correct copy of the Request

submission confirmation, with a redaction to Ms. Smith’s phone number, is attached hereto as

Exhibit 1, and is incorporated by reference.

       9.      As submitted, the Request sought two categories of records:

                 I. All records related to the visit of Robert F. Kennedy, Jr., to Samoa on or about

                    June 1, 2019, including emails, letters, messages, memos sent to, from or

                    among, or produced by staff at the US embassy in Samoa; and


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                   II. For the time period from July 1, 2018, through Dec 31, 2019, all

                      communications involving US embassy in Samoa embassy staffer Benjamin

                      (“Benj”) Harding on all platforms including emails, text messages, Facebook,

                      Instagram, Telegram and all other platforms, in which the following were

                      discussed:

                                --Measles

                                -- Vaccine

                                --Vaccination

                                --Immunization

                                --Shot

                                --MMR

                                --Kennedy

                                --RFK Jr.

                                --Children’s Health Defense

                                -- CHD

                                --Edwin Tamasese

                                --childrenshealthdefense.org

                                --Cheryl Hines

                                --Taylor Winterstein

                                --Tays Way.

Ex. 1.

         10.     The Request sought a fee waiver and set forth facts and argument in support thereof.

Ex. 1.




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       11.     The Request sought expedited processing and set forth facts and argument in

support thereof. Ex. 1.

       12.     By email dated July 31, 2024, the State Department informed Ms. Smith that that

it had located “over 1000 potentially responsive records” in response to the Request. A true and

correct copy of that email is attached hereto as Exhibit 2.

       13.     The State Department’s email asked if Plaintiffs could “narrow the scope” of the

Request. Ex. 2.

       14.     Smith and the State Department subsequently exchanged emails regarding the

scope of the Request on August 1 and 2, 2024.

       15.     By email dated August 2, 2024, Smith informed the State Department that the

second part of the Request would be narrowed to “only look for things sent/posted by Mr.

Harding.” Smith instructed Defendant not to “modify any part of the first part” of the Request

“about Mr. Kennedy[’]s visit.” A true and correct copy of Smith’s August 2, 2024 email, with a

redaction to Ms. Smith’s phone number, is attached hereto as Exhibit 3, and is incorporated by

reference.

       16.     By email dated August 2, 2024, the State Department stated that it would “proceed

with [the] request and reach out to [Smith] once [it had] completed the search.” A true and correct

copy of that August 2, 2024 email is attached hereto as Exhibit 4.

       17.     By email dated August 26, 2024, Smith followed up with the State Department and

asked for an estimated date of completion for the Request. A true and correct copy of that August

26, 2024 email, with redactions to Ms. Smith’s phone number, is attached hereto as Exhibit 5.

       18.     By email dated December 3, 2024, the State Department informed Smith that the

“search had been completed” and “[the] case is waiting to be assigned to an analyst for review of

the 1,000+ pages of material.” The email further stated that “your estimated completion date is


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still February 2026.” A true and correct copy of that December 3, 2024 email is attached hereto

as Exhibit 6.

       19.      On December 6, 2024, Brian Barrett (“Barrett”), Associate General Counsel for

AP, responded to the State Department’s December 3, 2024 email. A true and correct copy of that

email, with a redaction to Mr. Barrett’s phone number, is attached hereto as Exhibit 7, and is

incorporated by reference.

       20.      Barrett’s December 6, 2024 email expressed concern with the State Department’s

handling of the Request and the estimated completion date of February 2026, noting the absence

of any legal basis for such a delay and the public interest in the records sought by the Request. Ex.

7.

       21.      Barrett’s December 6, 2024 email further requested an immediate substantive

determination, and offered to discuss the Request further over the phone. Ex. 7.

       22.      As of the filing of this Complaint, the State Department has not responded to

Barrett’s December 6, 2024 email.

                              Current Status of Plaintiffs’ Request

       23.      As of the filing of this Complaint, Plaintiffs have received no further

communication from the State Department regarding the Request.

       24.      As of the filing of this Complaint, Plaintiffs have not received a determination from

the State Department regarding the Request.

       25.      As of the filing of this Complaint, Plaintiffs have not received any records from the

State Department responsive to the Request.

       26.      As of the filing of this Complaint, the Request has been pending for approximately

665 days.




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                                     CAUSES OF ACTION

                         COUNT I: VIOLATION OF FOIA
              FOR FAILURE TO COMPLY WITH STATUTORY DEADLINES

       27.     Plaintiffs repeat, reallege, and incorporate the allegations set forth in the foregoing

paragraphs as though fully set forth herein.

       28.     Defendant is an agency subject to FOIA. 5 U.S.C. §§ 552(f), 551.

       29.     The Request properly seeks records under FOIA that are within the possession,

custody, and/or control of Defendant.

       30.     The Request complied with all applicable regulations regarding the submission of

FOIA requests.

       31.     Defendant failed to make a determination regarding the Request within the

statutory deadlines required by FOIA. 5 U.S.C. § 552(a)(6)(A).

       32.     Defendant’s failure to make a determination with respect to the Request within

FOIA’s statutory deadlines violates its obligations under FOIA. 5 U.S.C. § 552(a)(6)(A).

       33.     Plaintiffs have or are deemed to have exhausted applicable administrative remedies

with respect to the Request. 5 U.S.C. § 552(a)(6)(C)(i).


                        COUNT II: VIOLATION OF FOIA
               FOR UNLAWFUL WITHHOLDING OF AGENCY RECORDS

       34.     Plaintiffs repeat, reallege, and incorporate the allegations set forth in the foregoing

paragraphs as though fully set forth herein.

       35.     Defendant is an agency subject to FOIA. 5 U.S.C. §§ 552(f), 551.

       36.     The Request properly seeks records under FOIA that are within the possession,

custody, and/or control of Defendant.




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       37.     The Request complied with all applicable regulations regarding the submission of

FOIA requests.

       38.     Defendant has not released any records or portions thereof in response to the

Request.

       39.     Defendant has not cited any exemptions to withhold records or portions thereof that

are responsive to the Request.

       40.     Defendant has not identified how it is reasonably foreseeable that disclosure of each

of the records or portions thereof sought by the Request would harm an interest protected by a

FOIA exemption and/or why disclosure is prohibited by law. 5 U.S.C. § 552(a)(8)(A).

       41.     Records responsive to the Request are required to be released under FOIA.

       42.     Defendant has improperly withheld agency records responsive to the Request, in

violation of FOIA. 5 U.S.C. § 552(a)(3)(A).

       43.     Plaintiffs have or are deemed to have exhausted applicable administrative remedies

with respect to the Request. 5 U.S.C. § 552(a)(6)(C)(i).


                                   REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully requests this Court:

      (1) order Defendant to conduct a search reasonably calculated to identify all records

           responsive to the Request;

      (2) enjoin Defendant from withholding all records or portions thereof responsive to the

           Request that may not be withheld under FOIA;

      (3) issue a declaration that Plaintiffs are entitled to disclosure of the requested records;

      (4) issue a declaration that Defendant’s failure to provide a timely determination in

           response to the Request violates its obligations under FOIA;



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      (5) award Plaintiffs reasonable attorney fees and costs reasonably incurred in this action

          pursuant to 5 U.S.C. § 552(a)(4)(E); and

      (6) grant such other relief as the Court may deem just and proper.


Dated: July 16, 2025

                                            Respectfully submitted,

                                            /s/ Adam A. Marshall
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                                              Counsel for Plaintiffs




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